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   to perpetuate the scheme and that, at all relevant times, was controlled by Kim, who

   owned a 70% share. Kim&Kim Asset L.L.C was dissolved by Kim on March 3, 2014.

   Its main asset, a luxury home at 2008 Alaqua Drive, Longwood, FL, was transferred by

   Quit Claim deed to Kim in July 2013.


          18.     As set forth in the table below, Kim used a number of nominee or sham

   entities to open accounts that were used to house the stolen money and then initiate

   transfers from Asia to three accounts in the Middle District of Florida held in the name of

   Kim, Cho, or Kim&Kim Asset L.L.C., including:


                                            Rec. Fifth
            Orig. Bank      Orig. Bank                      Send.       Orig.
 Date                                      Third Bank                                 Amount
             Account          Name                          Bank       Country
                                            Account
                              Kookmin
1/11/12             8219                           0678      NA          Korea       $50,000.00
                               Bank
                                                          Standard
                                                          Chartered
1/13/12           9548       Hana Bank             0678                  Korea       $50,000.00
                                                            Bank
                                                           Limited
                                                           HSBC
1/30/12           4626       Hana Bank             0678     Bank         Korea       $50,000.00
                                                            USA
                                                           HSBC
1/30/12           5233       Hana Bank             0678     Bank         Korea       $50,000.00
                                                            USA
                                                           Bank of
                              Bank of
                                                            China
                               China                                     Hong
 2/3/12             0101                           0678    (Hong                     $99,980.00
                              (Hong                                      Kong
                                                           Kong)
                             Kong) Ltd.
                                                             Ltd.
                                                           HSBC
                              HSBC                                       Hong
2/10/12             3838                           0678     Bank                    $199,775.00
                            Hong Kong                                    Kong
                                                            USA




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                                       Rec. Fifth
           Orig. Bank    Orig. Bank                  Send.       Orig.
 Date                                 Third Bank                           Amount
            Account        Name                      Bank       Country
                                       Account
                          Bank of
                           China                                 Hong
2/21/12           0101                       0678     N/A                 $149,980.00
                           (Hong                                 Kong
                         Kong) Ltd.
                          Hua Nan                    Bank of
2/21/12           4353   Commercial          0678   America,    Taiwan    $199,982.00
                          BK Ltd.                     N.A.
                          Hua Nan                     Wells
2/23/12           4353   Commercial          0678   Fargo NY    Taiwan    $199,982.00
                          BK Ltd.                     INTL
                          Hua Nan                    Bank of
2/29/12           4353   Commercial          0678   America,    Taiwan    $249,982.00
                          BK Ltd.                     N.A.
                          Hua Nan                     Wells
4/13/12           4353   Commercial          0678   Fargo NY    Taiwan    $99,982.00
                          BK Ltd.                     INTL
                          Hua Nan                    Bank of
6/12/12           4353   Commercial          0678   America,    Taiwan    $99,982.00
                          BK Ltd.                     N.A.
                          Hua Nan                    Bank of
7/20/12           4353   Commercial          8461   America,    Taiwan    $124,982.00
                          BK Ltd.                     N.A.
                          Hua Nan                    Bank of
7/31/12           4353   Commercial          8461   America,    Taiwan    $179,948.11
                          BK Ltd.                     N.A.
                          Hua Nan                    Bank of
8/22/12           4353   Commercial          8461   America,    Taiwan    $124,982.00
                          BK Ltd.                     N.A.
                          Hua Nan                    Bank of
9/20/12           4353   Commercial          8461   America,    Taiwan    $199,947.00
                          BK Ltd.                     N.A.
                          Hua Nan                    Bank of
9/26/12           4353   Commercial          8461   America,    Taiwan    $34,947.32
                          BK Ltd.                     N.A.
                                                    Deutsche
                                                      Bank
11/23/12        2959     Woori Bank          6727                Korea    $20,000.00
                                                    Trust Co.
                                                    Americas




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                                           Rec. Fifth
            Orig. Bank      Orig. Bank                      Send.      Orig.
 Date                                     Third Bank                                Amount
             Account          Name                          Bank      Country
                                           Account
                              Woori
11/23/12          4638       Bank, Los            6727      NA         Korea       $14,985.00
                              Angeles
TOTAL                                                                             $2,199,436.43



        ASSETS PURCHASED IN THE UNITED STATES WITH STOLEN MONEY


           19.   From January to March 2012, Kim caused Kim&Kim Asset L.L.C. to use

   the money stolen from Emirates to pay US $1.18 million for five properties located in the

   Middle District of Florida, which were titled to Kim&Kim Asset L.L.C.:


                 a.      2008 Alaqua Drive, Longwood, Florida for a purchase price of US

                         $920,000. On July 12, 2013, Kim caused Kim&Kim Asset L.L.C.

                         to execute a Quit Claim Deed in Seminole County, transferring

                         title of the property at 2008 Alaqua Drive from Kim&Kim Asset

                         L.L.C. to defendant Kim himself.


                 b.      3310 San Jacinto Circle, Sanford, Florida (purchase price: US

                         $73,000);


                 c.      3510 San Jacinto Circle, Sanford, Florida (purchase price: US

                         $69,500);


                 d.      950 Bird Bay Court, Unit 104, Lake Mary, Florida (purchase price:

                         US $61,000); and



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